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                            UNITED STATES DISTRICT COURT
                             NORTHERN DISTRICT OF TEXAS
                                FORT WORTH DIVISION

 OUTSOURCING FACILITIES
 ASSOCIATION and NORTH AMERICAN
 CUSTOM LABORATORIES, LLC d/b/a
 FARMAKEIO CUSTOM COMPOUNDING,

                        Plaintiffs,

 v.
                                                    CASE NO. 4:24-cv-953-P
 UNITED STATES FOOD AND DRUG
 ADMINISTRATION and DR. ROBERT M.
 CALIFF,

                        Defendants.


                ELI LILLY AND COMPANY’S MOTION TO INTERVENE

       Pursuant to Rules 24(a) and (b) of the Federal Rules of Civil Procedure and Rule 7.1 of the

Local Civil Rules of the Northern District of Texas, Eli Lilly and Company (“Lilly”) respectfully

moves to intervene as a matter of right or, alternatively, with the permission of this Court, for the

reasons set forth in the accompanying brief. Lilly conferred with counsel for both parties.

Defendants do not oppose Lilly’s request but Plaintiffs Outsourcing Facilities Association and

North American Custom Laboratories, LLC d/b/a FarmaKeio Custom Compounding are opposed.

       Lilly also asks that its deadline for filing a responsive pleadings be set to match that of

Defendants. See, e.g., ECF No. 33. All parties confirmed that they do not object to Lilly observing

the responsive pleading deadline that applies to the defendants, if Lilly is allowed to intervene.
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Dated: January 1, 2025                 Respectfully submitted,

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                                CERTIFICATE OF SERVICE

       I hereby certify that on January 1, 2025, I served the foregoing document electronically in

accordance with the Federal Rules of Civil Procedure.

                                             /s/ Dee J. Kelly, Jr.____________________
                                             Dee J. Kelly, Jr.


                             CERTIFICATE OF CONFERENCE

       I hereby certify that counsel for Eli Lilly and Company has conferred with counsel for

Plaintiffs and counsel for Defendants via email on December 26 and 30, 2024. Plaintiffs are

opposed and Defendants are unopposed to Lilly’s motion to intervene. All parties are unopposed

to Lilly’s request to be allowed to follow the same schedule for responsive pleadings that applies

to the defendants.

                                             /s/ Dee J. Kelly, Jr.____________________
                                             Dee J. Kelly, Jr.




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